                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                                     NO. 3:16-CR-194

              v.                                     (JUDGE CAPUTO)
 FUHAI LI,

       Defendant.

                                        ORDER
      NOW, this 14th day of February, 2017, IT IS HEREBY ORDERED that Defendant’s
Motion (Doc. 24) is DENIED.
      (1)    Defendant’s request for a bill of particulars is DENIED.
      (2)    Defendant’s request for immediate production of Brady material is DENIED
             without prejudice.
      (3)    Defendant’s request for immediate production of Jencks material is DENIED
             without prejudice.
      (4)    Defendant’s request for immediate notice of the Government’s intention to
             offer evidence under Federal Rule of Evidence 404(b) is DENIED without
             prejudice.
      (5)    Defendant’s request for immediate notice of the Government’s intention to
             offer evidence under Federal Rule of Evidence 807 is DENIED without
             prejudice.
      (6)    Defendant’s request for immediate notice of the Government’s intention to
             offer evidence under Federal Rule of Evidence 801(d)(2) is DENIED.
      (7)    Defendant’s request for notice under Federal Rule of Criminal Procedure
             12(b)(4)(B) is DENIED without prejudice.
      (8)    Defendant’s requests for the disclosure of grand jury materials are DENIED.
             Defendant’s request for the Court to conduct an in camera review of grand jury
             materials is DENIED.
      (9)    Defendant’s request for the Government to preserve handwritten notes made
             in the course of the investigation is DENIED as moot.
(10)   Defendant’s request for the immediate production of the Government’s
       handwritten notes is DENIED without prejudice. Defendant may renew his
       motion at trial subject to a specific showing that any particular rough notes or
       investigative reports not otherwise produced arguably may contain information
       falling within the scope of Brady and/or the Jencks Act. Defendant’s request
       for the Court to conduct an in camera review of any such notes is DENIED
       without prejudice.
(11)   Defendant’s request for production of evidence under Federal Rule of Criminal
       Procedure 16 is DENIED as moot. Defendant’s requests for information
       outside the ambit of Rule 16 is DENIED.
(12)   Defendant’s request for leave to file additional motions is DENIED without
       prejudice. Defendant will be permitted to renew this request if it becomes
       necessary to file additional pretrial motions which reasonably could not have
       been anticipated within the time allocated for filing such motions in this case.




                                             /s/ A. Richard Caputo
                                             A. Richard Caputo
                                             United States District Judge




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